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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )               Case No. 4:09cr3090
                      Plaintiff,               )
                                               )
              vs.                              )               ORDER TO WITHDRAW
                                               )                   EXHIBITS
KEVIN JARZELL MOORE,                           )
                                               )
                      Defendant.               )



       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel are ordered to withdraw

the following exhibits previously submitted in this matter within 14 calendar days of the

date of this order:


       Government’s Exhibits 1-3, 5, 7-12, 14, 21-23/ jury trial/ held on 3/22 through 3/26/10

       Defendant’s Exhibits 101 - 109/ jury trial/ held on 3/22/10 through 3/26/10



       If counsel fail to withdraw these exhibits as ordered, counsel will be ordered to

show cause why sanctions should not be imposed.

       IT IS SO ORDERED.

       DATED this 29th day of March, 2010.

                                               s/ Richard G. Kopf
                                               United States District Judge




                                       proc\Exhibits\Form-Order to Withdraw Appeal Time Pending.wpd
                                                                                     Approved 02/15/07
